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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                            SAN JOSE DIVISION
                                  11
                                         NATIONAL URBAN LEAGUE, et al.,                   Case No. 20-CV-05799-LHK
                                  12
Northern District of California




                                                       Plaintiffs,                        ORDER CONTINUING CASE
 United States District Court




                                  13                                                      MANAGEMENT CONFERENCE
                                                 v.
                                  14
                                         WILBUR L. ROSS, et al.,
                                  15
                                                       Defendants.
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                                              The Court continues the December 11, 2020 case management conference to December 18,
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                                       2020 at 2:00 p.m. The parties shall file a joint case management statement by December 18, 2020
                                  19
                                       at 9:00 a.m.
                                  20
                                       IT IS SO ORDERED.
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                                  22
                                       Dated: December 10, 2020
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                                                                                     ______________________________________
                                  24                                                 LUCY H. KOH
                                                                                     United States District Judge
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                                       Case No. 20-CV-05799-LHK
                                       ORDER CONTINUING CASE MANAGEMENT CONFERENCE
